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                8   Quaid Harley-Davidson, Inc.
                9
            10                              UNITED STATES DISTRICT COURT
            11                            CENTRAL DISTRICT OF CALIFORNIA
            12
                    SENTRY SELECT INSURANCE                    Case No. 5:20-cv-02145-JWH-KK
            13      COMPANY, a Wisconsin corporation,
                                                               DISCOVERY MATTER
            14                          Plaintiff,
                                                               STIPULATED PROTECTIVE
            15            v.                                   ORDER
            16      QUAID HARLEY DAVIDSON, INC.,
                    a California corporation; LISA HALL,
            17      an individual, on behalf of herself, the
                    proposed class(es), all other similarly
            18      situated, and on behalf of the general
                    public,
            19
                                       Defendants.
            20
            21
            22
            23
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                1      1. A. PURPOSES AND LIMITATIONS
                2         Discovery in this action is likely to involve production of confidential,
                3   proprietary, or private information for which special protection from public disclosure
                4   and from use for any purpose other than prosecuting this litigation may be warranted.
                5   Accordingly, the parties hereby stipulate to and petition the Court to enter the
                6   following Stipulated Protective Order. The parties acknowledge that this Order does
                7   not confer blanket protections on all disclosures or responses to discovery and that the
                8   protection it affords from public disclosure and use extends only to the limited
                9   information or items that are entitled to confidential treatment under the applicable
            10      legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
            11      that this Stipulated Protective Order does not entitle them to file confidential
            12      information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
            13      followed and the standards that will be applied when a party seeks permission from the
            14      court to file material under seal.
            15            B. GOOD CAUSE STATEMENT
            16            This action is likely to involve confidential and/or proprietary information for
            17      which special protection from public disclosure and from use for any purpose other
            18      than prosecution of this action is warranted. Such confidential and proprietary
            19      materials and information consist of, among other things, confidential insurance,
            20      business or financial information, information regarding confidential business
            21      practices, or other confidential information (including information implicating privacy
            22      rights of third parties), information otherwise generally unavailable to the public, or
            23      which may be privileged or otherwise protected from disclosure under state or federal
            24      statutes, court rules, case decisions, or common law. Accordingly, to expedite the flow
            25      of information, to facilitate the prompt resolution of disputes over confidentiality of
            26      discovery materials, to adequately protect information the parties are entitled to keep
            27      confidential, to ensure that the parties are permitted reasonable necessary uses of such
            28      material in preparation for and in the conduct of trial, to address their handling at the
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                1   end of the litigation, and serve the ends of justice, a protective order for such
                2   information is justified in this matter. It is the intent of the parties that information will
                3   not be designated as confidential for tactical reasons and that nothing be so designated
                4   without a good faith belief that it has been maintained in a confidential, non-public
                5   manner, and there is good cause why it should not be part of the public record of this
                6   case.
                7
                8      2. DEFINITIONS
                9           2.1 Action: the above-captioned action pending in the United States District
            10      Court for the Central District of California styled as Select Insurance Company v.
            11      Quaid Harley Davidson, Inc. et al., Case No. 5:20-cv-02145-JWH-KK.
            12              2.2 Challenging Party: a Party or Non-Party that challenges the designation of
            13      information or items under this Order.
            14              2.3 “CONFIDENTIAL” Information or Items: information (regardless of how it
            15      is generated, stored or maintained) or tangible things that qualify for protection under
            16      Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
            17      Statement.
            18              2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
            19      support staff).
            20              2.5 Designating Party: a Party or Non-Party that designates information or items
            21      that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
            22              2.6 Disclosure or Discovery Material: all items or information, regardless of the
            23      medium or manner in which it is generated, stored, or maintained (including, among
            24      other things, testimony, transcripts, and tangible things), that are produced or generated
            25      in disclosures or responses to discovery in this matter.
            26              2.7 Expert: a person with specialized knowledge or experience in a matter
            27      pertinent to the litigation who has been retained by a Party or its counsel to serve as an
            28      expert witness or as a consultant in this Action.
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                1         2.8 House Counsel: attorneys who are employees of a party to this Action.
                2   House Counsel does not include Outside Counsel of Record or any other outside
                3   counsel.
                4         2.9 Non-Party: any natural person, partnership, corporation, association, or
                5   other legal entity not named as a Party to this Action.
                6         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
                7   this Action but are retained to represent or advise a party to this Action and have
                8   appeared in this Action on behalf of that party or are affiliated with a law firm which
                9   has appeared on behalf of that party, and includes support staff.
            10            2.11 Party: any party to this Action, including all of its officers, directors,
            11      employees, consultants, retained experts, and Outside Counsel of Record (and their
            12      support staffs).
            13            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
            14      Discovery Material in this Action.
            15            2.13 Professional Vendors: persons or entities that provide litigation support
            16      services (e.g., photocopying, videotaping, translating, preparing exhibits or
            17      demonstrations, and organizing, storing, or retrieving data in any form or medium) and
            18      their employees and subcontractors.
            19            2.14 Protected Material: any Disclosure or Discovery Material that is designated
            20      as “CONFIDENTIAL.”
            21            2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
            22      from a Producing Party.
            23
            24         3. SCOPE
            25         The protections conferred by this Stipulation and Order cover not only Protected
            26      Material (as defined above), but also (1) any information copied or extracted from
            27      Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
            28      Material; and (3) any testimony, conversations, or presentations by Parties or their
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                1   Counsel that might reveal Protected Material. Any use of Protected Material at trial
                2   shall be governed by the orders of the trial judge. This Order does not govern the use
                3   of Protected Material at trial.
                4
                5      4. DURATION
                6         Even after final disposition of this litigation, the confidentiality obligations
                7   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                8   in writing or a court order otherwise directs. Final disposition shall be deemed to be the
                9   later of (1) dismissal of all claims and defenses in this Action, with or without
            10      prejudice; and (2) final judgment herein after the completion and exhaustion of all
            11      appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
            12      for filing any motions or applications for extension of time pursuant to applicable law.
            13
            14         5. DESIGNATING PROTECTED MATERIAL
            15            5.1 Exercise of Restraint and Care in Designating Material for Protection. Each
            16      Party or Non-Party that designates information or items for protection under this Order
            17      must take care to limit any such designation to specific material that qualifies under the
            18      appropriate standards. The Designating Party must designate for protection only those
            19      parts of material, documents, items, or oral or written communications that qualify so
            20      that other portions of the material, documents, items, or communications for which
            21      protection is not warranted are not swept unjustifiably within the ambit of this Order.
            22            Mass, indiscriminate, or routinized designations are prohibited. Designations
            23      that are shown to be clearly unjustified or that have been made for an improper purpose
            24      (e.g., to unnecessarily encumber the case development process or to impose
            25      unnecessary expenses and burdens on other parties) may expose the Designating Party
            26      to sanctions.
            27            If it comes to a Designating Party’s attention that information or items that it
            28      designated for protection do not qualify for protection, that Designating Party must
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                1   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                2         5.2 Manner and Timing of Designations. Except as otherwise provided in this
                3   Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
                4   or ordered, Disclosure or Discovery Material that qualifies for protection under this
                5   Order must be clearly so designated before the material is disclosed or produced.
                6         Designation in conformity with this Order requires:
                7         (a) for information in documentary form (e.g., paper or electronic documents,
                8   but excluding transcripts of depositions or other pretrial or trial proceedings), that the
                9   Producing Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter
            10      “CONFIDENTIAL legend”), to each page that contains protected material. If only a
            11      portion or portions of the material on a page qualifies for protection, the Producing
            12      Party also must clearly identify the protected portion(s) (e.g., by making appropriate
            13      markings in the margins).
            14            A Party or Non-Party that makes original documents available for inspection
            15      need not designate them for protection until after the inspecting Party has indicated
            16      which documents it would like copied and produced. During the inspection and before
            17      the designation, all of the material made available for inspection shall be deemed
            18      “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
            19      copied and produced, the Producing Party must determine which documents, or
            20      portions thereof, qualify for protection under this Order. Then, before producing the
            21      specified documents, the Producing Party must affix the “CONFIDENTIAL legend” to
            22      each page that contains Protected Material. If only a portion or portions of the material
            23      on a page qualifies for protection, the Producing Party also must clearly identify the
            24      protected portion(s) (e.g., by making appropriate markings in the margins).
            25            (b) for testimony given in depositions that the Designating Party identify the
            26      Disclosure or Discovery Material on the record, before the close of the deposition all
            27      protected testimony.
            28            (c) for information produced in some form other than documentary and for any
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                1   other tangible items, that the Producing Party affix in a prominent place on the exterior
                2   of the container or containers in which the information is stored the legend
                3   “CONFIDENTIAL.” If only a portion or portions of the information warrants
                4   protection, the Producing Party, to the extent practicable, shall identify the protected
                5   portion(s).
                6         5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
                7   to designate qualified information or items does not, standing alone, waive the
                8   Designating Party’s right to secure protection under this Order for such material. Upon
                9   timely correction of a designation, the Receiving Party must make reasonable efforts to
            10      assure that the material is treated in accordance with the provisions of this Order.
            11
            12         6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
            13            6.1 Timing of Challenges. Any Party or Non-Party may challenge a designation
            14      of confidentiality at any time that is consistent with the Court’s Scheduling Order.
            15            6.2 Meet and Confer. The Challenging Party shall initiate the dispute resolution
            16      process under Local Rule 37.1 et seq.
            17            6.3 The burden of persuasion in any such challenge proceeding shall be on the
            18      Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
            19      to harass or impose unnecessary expenses and burdens on other parties) may expose
            20      the Challenging Party to sanctions. Unless the Designating Party has waived or
            21      withdrawn the confidentiality designation, all parties shall continue to afford the
            22      material in question the level of protection to which it is entitled under the Producing
            23      Party’s designation until the Court rules on the challenge.
            24
            25         7. ACCESS TO AND USE OF PROTECTED MATERIAL
            26            7.1 Basic Principles. A Receiving Party may use Protected Material that is
            27      disclosed or produced by another Party or by a Non-Party in connection with this
            28      Action only for prosecuting, defending, or attempting to settle this Action. Such
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                1   Protected Material may be disclosed only to the categories of persons and under the
                2   conditions described in this Order. When the Action has been terminated, a Receiving
                3   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
                4         Protected Material must be stored and maintained by a Receiving Party at a
                5   location and in a secure manner that ensures that access is limited to the persons
                6   authorized under this Order.
                7         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                8   ordered by the court or permitted in writing by the Designating Party, a Receiving
                9   Party may disclose any information or item designated “CONFIDENTIAL” only to:
            10            (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
            11      employees of said Outside Counsel of Record to whom it is reasonably necessary to
            12      disclose the information for this Action;
            13            (b) the officers, directors, and employees (including House Counsel) of the
            14      Receiving Party to whom disclosure is reasonably necessary for this Action;
            15            (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure
            16      is reasonably necessary for this Action and who have signed the “Acknowledgment
            17      and Agreement to Be Bound” (Exhibit A);
            18            (d) the court and its personnel;
            19            (e) court reporters and their staff;
            20            (f) professional jury or trial consultants, mock jurors, and Professional Vendors
            21      to whom disclosure is reasonably necessary for this Action and who have signed the
            22      “Acknowledgment and Agreement to Be Bound” (Exhibit A);
            23            (g) the author or recipient of a document containing the information or a
            24      custodian or other person who otherwise possessed or knew the information;
            25            (h) during their depositions, witnesses, and attorneys for witnesses, in the Action
            26      to whom disclosure is reasonably necessary provided: (1) the deposing party requests
            27      that the witness sign the form attached as Exhibit 1 hereto; and (2) they will not be
            28      permitted to keep any confidential information unless they sign the “Acknowledgment
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                1   and Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the Designating
                2   Party or ordered by the court. Pages of transcribed deposition testimony or exhibits to
                3   depositions that reveal Protected Material may be separately bound by the court
                4   reporter and may not be disclosed to anyone except as permitted under this Stipulated
                5   Protective Order; and
                6         (i) any mediator or settlement officer, and their supporting personnel, mutually
                7   agreed upon by any of the parties engaged in settlement discussions.
                8
                9      8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
            10            OTHER LITIGATION
            11         If a Party is served with a subpoena or a court order issued in other litigation that
            12      compels disclosure of any information or items designated in this Action as
            13      “CONFIDENTIAL,” that Party must:
            14            (a) promptly notify in writing the Designating Party. Such notification shall
            15      include a copy of the subpoena or court order;
            16            (b) promptly notify in writing the party who caused the subpoena or order to
            17      issue in the other litigation that some or all of the material covered by the subpoena or
            18      order is subject to this Protective Order. Such notification shall include a copy of this
            19      Stipulated Protective Order; and
            20            (c) cooperate with respect to all reasonable procedures sought to be pursued by
            21      the Designating Party whose Protected Material may be affected.
            22            If the Designating Party timely seeks a protective order, the Party served with
            23      the subpoena or court order shall not produce any information designated in this Action
            24      as “CONFIDENTIAL” before a determination by the court from which the subpoena
            25      or order issued, unless the Party has obtained the Designating Party’s permission. The
            26      Designating Party shall bear the burden and expense of seeking protection in that court
            27      of its confidential material and nothing in these provisions should be construed as
            28      authorizing or encouraging a Receiving Party in this Action to disobey a lawful
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                1   directive from another court.
                2
                3      9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
                4         IN THIS LITIGATION
                5         (a) The terms of this Order are applicable to information produced by a Non-
                6   Party in this Action and designated as “CONFIDENTIAL.” Such information produced
                7   by Non-Parties in connection with this litigation is protected by the remedies and relief
                8   provided by this Order. Nothing in these provisions should be construed as prohibiting
                9   a Non-Party from seeking additional protections.
            10            (b) In the event that a Party is required, by a valid discovery request, to produce
            11      a Non-Party’s confidential information in its possession, and the Party is subject to an
            12      agreement with the Non-Party not to produce the Non-Party’s confidential information,
            13      then the Party shall:
            14                (1) promptly notify in writing the Requesting Party and the Non-Party that
            15                some or all of the information requested is subject to a confidentiality
            16                agreement with a Non-Party;
            17                (2) promptly provide the Non-Party with a copy of the Stipulated Protective
            18                Order in this Action, the relevant discovery request(s), and a reasonably
            19                specific description of the information requested; and
            20                (3) make the information requested available for inspection by the Non-Party,
            21                if requested.
            22            (c) If the Non-Party fails to seek a protective order from this court within 14
            23      days of receiving the notice and accompanying information, the Receiving Party may
            24      produce the Non-Party’s confidential information responsive to the discovery request.
            25      If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
            26      any information in its possession or control that is subject to the confidentiality
            27      agreement with the Non-Party before a determination by the court. Absent a court
            28      order to the contrary, the Non-Party shall bear the burden and expense of seeking
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                1   protection in this court of its Protected Material.
                2
                3      10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                4         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                5   Protected Material to any person or in any circumstance not authorized under this
                6   Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
                7   the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
                8   all unauthorized copies of the Protected Material, (c) inform the person or persons to
                9   whom unauthorized disclosures were made of all the terms of this Order, and (d)
            10      request such person or persons to execute the “Acknowledgment and Agreement to Be
            11      Bound” that is attached hereto as Exhibit A.
            12
            13         11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
            14            PROTECTED MATERIAL
            15            When a Producing Party gives notice to Receiving Parties that certain
            16      inadvertently produced material is subject to a claim of privilege or other protection,
            17      the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
            18      Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
            19      may be established in an e-discovery order that provides for production without prior
            20      privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
            21      parties reach an agreement on the effect of disclosure of a communication or
            22      information covered by the attorney-client privilege or work product protection, the
            23      parties may incorporate their agreement in the stipulated protective order submitted to
            24      the court.
            25
            26         12. MISCELLANEOUS
            27            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
            28      person to seek its modification by the Court in the future.
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                1         12.2 Right to Assert Other Objections. By stipulating to the entry of this
                2   Protective Order no Party waives any right it otherwise would have to object to
                3   disclosing or producing any information or item on any ground not addressed in this
                4   Stipulated Protective Order. Similarly, no Party waives any right to object on any
                5   ground to use in evidence of any of the material covered by this Protective Order.
                6         12.3 Filing Protected Material. A Party that seeks to file under seal any
                7   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
                8   only be filed under seal pursuant to a court order authorizing the sealing of the specific
                9   Protected Material at issue. If a Party's request to file Protected Material under seal is
            10      denied by the court, then the Receiving Party may file the information in the public
            11      record unless otherwise instructed by the court.
            12
            13         13. FINAL DISPOSITION
            14            After the final disposition of this Action, as defined in paragraph 4, within 60
            15      days of a written request by the Designating Party, each Receiving Party must return
            16      all Protected Material to the Producing Party or destroy such material. As used in this
            17      subdivision, “all Protected Material” includes all copies, abstracts, compilations,
            18      summaries, and any other format reproducing or capturing any of the Protected
            19      Material. Whether the Protected Material is returned or destroyed, the Receiving Party
            20      must submit a written certification to the Producing Party (and, if not the same person
            21      or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
            22      category, where appropriate) all the Protected Material that was returned or destroyed
            23      and (2) affirms that the Receiving Party has not retained any copies, abstracts,
            24      compilations, summaries or any other format reproducing or capturing any of the
            25      Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
            26      archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
            27      legal memoranda, correspondence, deposition and trial exhibits, expert reports,
            28      attorney work product, and consultant and expert work product, even if such materials
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                1   contain Protected Material. Any such archival copies that contain or constitute
                2   Protected Material remain subject to this Protective Order as set forth in Section 4
                3   (DURATION).
                4
                5         14. Any violation of this Order may be punished by any and all appropriate
                6   measures including, without limitation, contempt proceedings and/or monetary
                7   sanctions.
                8
                    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                9
            10
                                                                  BARNES & THORNBURG LLP
            11
            12 Dated:                             By: V0DWWKHZ%2¶+DQORQ
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                                                                david.schack@btlaw.com
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            15                                                  Jonathan J. Boustani
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            16                                                  Attorneys for Defendant and
                                                                Counterclaimant Quaid Harley-Davidson,
            17                                                  Inc.
            18
                                                                  SELMAN BREITMAN LLP
            19
            20 Dated:                             By:
            21                                                    Alan B. Yuter
                                                                  ayuter@selmanlaw.com
            22                                                    Rachel E. Hobbs
                                                                  rhobbs@selmanlaw.com
            23                                                    Attorneys for Plaintiff and Counter-
                                                                  Defendant Sentry Select Insurance
            24                                                    Company
            25
            26      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

            27            1RYHPEHU
                    Date:______________                 _____________________________________
                                                               Hon. Kenly Kiya Kato
            28                                                 United States Magistrate Judge
   B ARNES &
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                1                                          EXHIBIT A
                2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                3         I, _____________________________ [print or type full name], of
                4   _________________ [print or type full address], declare under penalty of perjury that I
                5   have read in its entirety and understand the Stipulated Protective Order that was issued
                6   by the United States District Court for the Central District of California on [date] in the
                7   case of Sentry Select Insurance Company v. Quaid Harley Davidson, Inc.; et al.,
                8   United States District Court for the Central District of California Case No. 5:20-CV-
                9   02145-JWH-KK. I agree to comply with and to be bound by all the terms of this
            10      Stipulated Protective Order and I understand and acknowledge that failure to so
            11      comply could expose me to sanctions and punishment in the nature of contempt. I
            12      solemnly promise that I will not disclose in any manner any information or item that is
            13      subject to this Stipulated Protective Order to any person or entity except in strict
            14      compliance with the provisions of this Order. I further agree to submit to the
            15      jurisdiction of the United States District Court for the Central District of California for
            16      the purpose of enforcing the terms of this Stipulated Protective Order, even if such
            17      enforcement proceedings occur after termination of this action. I hereby appoint
            18      __________________________ [print or type full name] of
            19      ______________________________________ [print or type full address and
            20      telephone number] as my California agent for service of process in connection with
            21      this action or any proceedings related to enforcement of this Stipulated Protective
            22      Order.
            23
            24      Date: ______________________________________
            25      City and State where sworn and signed: _________________________________
            26      Printed name: _______________________________
            27      Signature: __________________________________
            28
   B ARNES &
T HORNBURG LLP                                                 1
ATTORNEYS AT LAW
  LOS ANGELES
                                                            EXHIBIT A
